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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

 THE HOME DEPOT, INC. and HOME
 DEPOT U.S.A., INC.,                               Civil Action No. 1:21-cv-00242-SJD-SKB

                                Plaintiffs,          Judge Susan Dlott

             v.                                      Magistrate Judge Stephanie Bowman

 STEADFAST INSURANCE CO. and
 GREAT AMERICAN ASSURANCE CO.,                      NOTICE OF FILING EXHIBITS TO
                                                     RESPONSE TO DEFENDANTS’
                                Defendants.         MOTION FOR PARTIAL SUMMARY
                                                      JUDGMENT ON LIABILITY

         Pursuant to this Court’s Standing Order § E(3), Plaintiffs The Home Depot, Inc. and

Home Depot U.S.A., Inc. (together, “Home Depot”) provide this Notice of Filing Exhibits to its

Response to Defendants’ Motion for Partial Summary Judgment on Liability (“Response”).

Attached hereto are the following exhibits:

    1. Exhibit 1: Second Declaration of Michael R. Baumrind

    2. Baumrind Declaration, Exhibit A: Rule 26(f) Report, Target Corp. v. ACE Am. Ins. Co.

         et al., No. 19-cv-2916 (WMW/DTS) (D. Minn. Feb. 25, 2020) (Doc. 20).

    3. Baumrind Declaration, Exhibit B: Briefing Order, Target, No. 19-cv-2916 (D. Minn.

         Mar. 11, 2020) (Doc. 24).

    4. Baumrind Declaration Exhibit C: Certified Policy Record, Camp’s Grocery, Inc. v. State

         Farm Fire & Casualty Co., No. 4:16-cv-0204-JEO (N.D. Ala. May 11, 2016) (Doc. 11-

         3).

                                     Signatures on following page.




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                                      /s/ Peter J. O’Shea
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                                CERTIFICATE OF SERVICE

         I hereby certify that on November 21, 2022, the foregoing NOTICE OF FILING

EXHIBITS TO RESPONSE TO DEFENDANTS’ MOTION FOR PARTIAL SUMMARY

JUDGMENT ON LIABILITY was filed using the CM/ECF system, which will automatically

provide notice to all counsel of record by electronic means.



                                                     /s/ Michael R. Baumrind
                                                     Michael R. Baumrind (admitted pro hac vice)




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